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                                        OFFICE OF THE CLERK

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                                         FOR THE THIRD CIRCUIT      215-597-2995
         CLERK                     21400 UNITED STATES COURTHOUSE
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                                      PHILADELPHIA, PA 19106-1790
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                                       December 10, 2020




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RE: FTC, et al v. Thomas Jefferson University, et al
Case Number: 20-3499
District Court Case Number: 2-20-cv-01113

PACER account holders are required to promptly inform the PACER Service Center of
any contact information changes. In order to not delay providing notice to attorneys or pro
se public filers, your information, including address, phone number and/or email address,
may have been updated in the Third Circuit database. Changes at the local level will not be
reflected at PACER. Public filers are encouraged to review their information on file with
PACER and update if necessary.


To All Parties:

Attorneys are required to file all documents electronically through the Court's
Electronic Case Filing System. See 3d Cir. L.A.R. 113 and the Court's website at
www.ca3.uscourts.gov/cmecf-case-managementelectronic-case-files.

Enclosed is case opening information regarding the above-captioned appeal filed by
Federal Trade Commission, docketed at No. 20-3499. All inquiries should be
directed to your Case Manager in writing or by calling the Clerk's Office at 215-597-
2995. This Court's rules, forms, and case information are available on our website at
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http://www.ca3.uscourts.gov.

Attached is a copy of the full caption as it is titled in the District Court. Please review
the caption carefully and promptly advise this office in writing of any discrepancies.

On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were
amended modifying deadlines and calculation of time. In particular those
motions which will toll the time for filing a notice of appeal under Fed.R.App.P.
4(a)(4), other than a motion for attorney's fees under Fed.R.Civ.P. 54, will be
considered timely if filed no later than 28 days after the entry of judgment.
Should a party file one of the motions listed in Fed.R.App.P 4(a)(4) after a notice
of appeal has been filed, that party must immediately inform the Clerk of the
Court of Appeals in writing of the date and type of motion that was filed. The
case in the court of appeals will not be stayed absent such notification.

Counsel for Appellant

As counsel for Appellant(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Civil Information Statement
4. Disclosure Statement (except governmental entities)
5. Concise Summary of the Case
6. Transcript Purchase Order Form.
These forms must be filed within fourteen (14) days of the date of this letter.

Failure of Appellant(s) to comply with any of these requirements by the deadline will result
in the DISMISSAL of the case without further notice. 3rd Circuit LAR Misc. 107.2.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Disclosure Statement (except governmental entities)
These forms must be filed within fourteen (14) days of the date of this letter.



Parties who do not intend to participate in the appeal must notify the Court in writing. This
notice must be served on all parties.

Attached is a copy of the full caption in this matter as it is titled in the district court. Please
review the caption carefully and promptly advise this office in writing of any discrepancies.
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Very truly yours,
Patricia S. Dodszuweit, Clerk



By:
Timothy McIntyre, Case Manager
267-299-4953


cc: Alison M. Agnew
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